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                           UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              )
 In re:                                       )
                                              )       Case No. 19-00149
 THOMAS K. STEPHENSON,                        )       Chapter 11
                                              )
                                              )
                       Debtor.                )
                                              )

                TRUSTEE'S MOTION FOR ENTRY OF ORDER
     ESTABLISHING CHAPTER 11 ADMINISTRATIVE CLAIM BAR DATE FOR
   DEBTOR IN POSSESSION PERIOD AND APPROVING FORM AND MANNER OF
   NOTICE THEREOF,NOTICE OF MOTION AND NOTICE OF OPPORTUNITY TO
                               OBJECT

          COMES NOW,Marc E. Albert, Chapter 11 Trustee for the estate of Thomas K.

 Stephenson (the "Debtor"), by his undersigned counsel, and in support of his Motion for Entry of

 Order Establishing Chapter 11 Administrative Claim Bar Date For Debtor-In-Possession Period

 and Approving Form and Manner of Notice Thereof(the "Motion"), respectfully states as

 follows:

           1.   The Court has subject matter jurisdiction to consider and determine the Motion

 pursuant to 28 U.S.C. § 1334. This is a core proceeding within the meaning of28 U.S.C. § 157(b).

 Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory basis for the

 relief requested is Bankruptcy Rule 9007("When notice is to be given under these rules, the court

 shall designate, if not otherwise specified herein, the time within which, the entities to whom,and

 the form and manner in which the notice shall be given.").

                                         BACKGROUND

          2.    The Debtor filed a voluntary Chapter 11 petition on March 12, 2019 (the "Petition

 Date").




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        3.      Upon consideration ofa motion filed by the District of Columbia,on June 25,2019,

 the Court issued an Order Granting District of Columbia's Motion to Appoint Trustee directing the

 appointment of a Chapter 11 trustee for the case pursuant to 11 U.S.C. § 1104. On July 22, 2019

(the "Trustee Appointment Date"), the Court entered an order approving the appointment of Marc

 E. Albert("Trustee") as the Chapter 11 trustee.

        4.      Prior to the Trustee's appointment, the Debtor owned a 100 percent fee simple

 interest and operated several multi-unit apartment buildings located in the District of Columbia

 including the following:


                a)      711 49th Street, NE, Washington, DC 20019 — 14 Units

                b)      719 49th Street, Washington, DC 20019 — 7 units

                c)      5128 Sheriff Rd. NE, Washington, DC 20019 —12 Units

                d)      5134 Sheriff Rd. NE, Washington, DC 20019 —14 Units

(collectively, the "Apartment Properties"). The Debtor additionally other properties including a

 single-family residential property located at 4815 Kansas Ave., NW,Washington, DC 20011 and

 a commercial property located at 1005 Eastern Avenue, NE, Capital Heights, Maryland 20743 (all

 properties collectively, the "Properties.") The Trustee now operates the Properties, including the

 Apartment Properties rental business as the chapter 11 trustee.

        5.      Upon information and belief,there are several entities who continued to do business

 with or provide services to the Debtor during the time the case was under Chapter 11 prior to the

 Trustee's appointment (i.e. - after the Petition Date and prior to the Trustee Appointment Date)

 that could have valid claims for administrative expenses pursuant to § 503. The Trustee now seeks

 entry of an order fixing a Chapter 11 Administrative Claim Bar Date for the Debtor-In-Possession

 period to assess the extent and validity of these potential claims.

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                                      RELIEF REQUESTED

        6.       By the Motion, the Trustee seeks entry of the Proposed Order, (i) establishing

 November 1, 2019 as the date (the "Chapter 11 Administrative DIP Claim Bar Date") by which

 holders of Chapter 11 Administrative Claims (as defined below) against the Debtor must file a

 request for allowance of Chapter 11 administrative expenses for the debtor-in-possession period

(March 12, 2019 to July 22, 2019) with the Court; and (ii) approving the form and manner of

 notice of the Chapter 11 Administrative DIP Claim Bar Date, substantially in the form attached to

 the Proposed Order as Schedule 1.

        7.       To assist with the Trustee's effective takeover of the Debtor's apartment businesses

 as Chapter 11 Trustee, the Trustee requires, among other things, complete and accurate

 information regarding the nature, validity, and amount of all unpaid Chapter 11 Administrative

 Claims incurred while the Debtor operated the Properties as Debtor-In-Possession. Consequently,

 the Trustee requests that the Court establish the Chapter 11 Administrative DIP Claim Bar Date

 and approve the Trustee's proposed related manner of notice.

        8.       After the Bar Date passes, the Trustee will analyze which claims are valid. The

 Trustee reserves his right to object to any Chapter 11 DIP Administrative Claim on any grounds.

 The Trustee further reserves his right to dispute, or to assert offsets or defenses to, any claim

 reflected on the Schedules, or any amendments thereto, as to amount, liability, classification, or

 otherwise, and to subsequently designate any claim as disputed, contingent, unliquidated, or

 undetermined.

 A.     Definition of Chapter 11 DIP Administrative Claim

        9.       For purposes ofthe Motion, the term "Chapter 11 DIP Administrative Claim" shall

 mean, as to the Debtor,(a)any right to payment, whether or not such right is reduced to judgment,


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 liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

 equitable, secured, or unsecured, and (b) any right to an equitable remedy for breach of

 performance if such breach gives rise to a payment, whether or not such right to an equitable

 remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed,

 secured, or unsecured that(x) arises under sections 365(d)(3), 365(d)(5), or 503(b)(1) through (8)

 of the Bankruptcy Code and (y) arose (or, as applicable under relevant law, accrued) on or after

 the Petition Date, but prior to the Trustee Appointment Date. For the avoidance of doubt, the

 definition of"Chapter 11 DIP Administrative Claim" encompasses applications for compensation

 for professionals.

        10.     The Trustee proposes that any person or governmental unit (as those terms are

 defined in sections 101(41) and (27) of the Bankruptcy Code, respectively) or other incorporated

 or unincorporated entity or association asserting a Chapter 11 DIP Administrative Claim be required

 to file with the Court a request for allowance of such Chapter 11 DIP Administrative Claim on or

 before the Chapter 11 DIP Administrative Claim Bar Date.

        1 1.    The Trustee proposes that any Chapter 11 DIP Administrative Claim not filed with

 the Court by the Chapter 11 DIP Administrative Claim Bar Date be deemed disallowed, waived,

 and forever barred.

 B.     Excluded Administrative Claims

        12.     The Trustee proposes that the Chapter 11 Administrative Claim Bar Date shall not

 apply to the following (the "Excluded Administrative Claims"):

               i.     fees payable to the Office of the United States Trustee pursuant to 28 U.S.C. §

                      1930;




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               ii.   any party that has already properly filed a proof of claim, application, or other

                     pleading with the Court that clearly sets forth that such party is asserting a

                     Chapter 11 administrative claim;

              iii.   any party whose Chapter 11 administrative claim has been allowed by a prior

                     order of the Court;

              iv.    Chapter 11 administrative claims that have been paid in full at any time prior to

                     the Chapter 11 DIP Administrative Claim Bar Date; and

               v.    administrative claims incurred by the Trustee on or after the Trustee

                     Appointment Date. These claims will be dealt with separately.

 C.      Notice of Chapter 11 DIP Administrative Claim Bar Date

        13.      Pursuant to Bankruptcy Rule 2002(a)(7), the Trustee proposes to mail a notice of

 the Administrative DIP Claim Bar Date for filing requests for allowance of Chapter 11 DIP

 Administrative Claims (the "Chapter 11 DIP Administrative Bar Date Notice"), in a form

 substantially similar to the notice attached to the Proposed Order as Schedule 1, to the following

 parties (collectively, the "Notice Parties") within seven (7) days of the entry of the Court's order

 approving the Motion to:

               i.    the United States Trustee;

              ii.    all parties who have requested notice in the Debtor's case pursuant to

                     Bankruptcy Rule 2002;

              iii.   all persons or entities that have filed claims against the Debtor;

              iv.    all known creditors and other known holders ofclaims as ofthe date ofthe order

                     approving the Motion, including all persons or entities listed in the Schedules

                     as holding claims for which the Debtor has addresses;


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                 v.    all counterparties to the Debtor's executory contracts and unexpired leases

                       listed on the Schedules at the addresses stated therein;

                vi.    all attorneys of record to all parties in these cases;

               vii.    all relevant taxing authorities, including the Internal Revenue Service and the

                       District of Columbia; and

               viii.   any additional party reasonably identified by the Trustee to be entitled to notice

                       of the Chapter 11 DIP Administrative Claim Bar Date.

         14.       The Trustee submits that such service of the Chapter 11 DIP Administrative Bar

 Date Notice will provide potential holders of Chapter 11 DIP Administrative Claims with

 reasonable time to file requests for allowance of Chapter 11 DIP Administrative Claims.

 D.     Consequences for Failure to File a Request for Allowance of Chapter 11 DIP

 Administrative Claim

         15.       The Proposed Order provides that any person, entity or governmental unit that has

 a Chapter 11 DIP Administrative Claim, but fails to submit a request for allowance ofsuch Chapter

 1 1 DIP Administrative Claim by the Chapter 11 DIP Administrative Claim Bar Date, will be

 forever barred, estopped, and enjoined from: (a) asserting their Chapter 11 DIP Administrative

 Claim against the Debtor's estate or the Trustee;(b) asserting any claim that is a different nature

 or classification on account of such Chapter 11 DIP Administrative Claim; and (c) participating in

 any distribution, or receiving any payment, from the Debtor, Trustee, or the estate on account of

 such Chapter 11 DIP Administrative Claim.

                                          BASIS FOR RELIEF

        16.        Section 503(a) provides that "an entity may timely file a request for payment of an

 administrative expense." Pursuant to § 105, this Court may issue any order "necessary or


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 appropriate" to carry out, among other things, the mandate of § 503(a). Read together, these two

 provisions authorize approval of a deadline to file administrative claims for the period before the

 Trustee's appointment.

         17.     Sections 105 and 503, together with Bankruptcy Rules 2002 and 9007, permit the

 Court to approve the proposed Chapter 11 DIP Administrative Claim procedures outlined above

 and to approve the form, manner, and sufficiency of notice of the Chapter 11 DIP Administrative

 Claim Bar Date. See Fed. R. Bankr. P. 9007(authorizing the Court to order the form and manner

 of notice and the time within which it must be given). The Trustee submits that approval of the

 above proposed procedures and the form, manner, and sufficiency of the Chapter 11 DIP

 Administrative Bar Date Notice satisfy this standard. Moreover, establishing a bar date for filing

 Chapter 11 DIP Administrative Claims is a critical element for the Trustee to proceed with the

 orderly and efficient administration ofthis case as chapter 11 trustee for the benefit ofthe Debtor's

 estate, creditors, and other parties-in-interest.

         18.     The requested relief does not alter, amend, or otherwise affect this Court's prior

 notice regarding deadlines for filing of claims included in the Notice of Chapter 11 Bankruptcy

 Case [Docket No. 16].

                NOTICE OF MOTION AND OF OPPORTUNITY TO OBJECT

        Marc E. Albert, Chapter 11 Trustee for the estate of Thomas K. Stephenson, has filed a
 Motion for Entry of Order Establishing Chapter 11 Administrative Claim Bar Date for Debtor-In-
 Possession Period and Approving Form and Manner of Notice Thereof.

         Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may
 wish to consult one.) If you do not want the Court to approve the motion, or if you want the Court
 to consider your views on the matter, then:

 on or before September 3,2019, after the date of filing of this motion, you or your attorney must
 file with the Court a written objection to the motion, together with the proposed order required by
 Local Bankruptcy Rule 9072-1. The objection and proposed order must be filed with the Clerk of

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 the Bankruptcy Court, E. Barrett Prettyman U.S. Courthouse, 3rd and Constitution Avenue, N.W.,
 Washington, D.C. 20001. You may append affidavits and documents in support of your objection.

 If you mail your objection to the Court for filing, you must mail it early enough so the Court will
 receive it on or before the date stated above.

 You must also mail a copy of your objection to:

 Joshua W. Cox
 Stinson Leonard Street LLP
 1775 Pennsylvania Ave, NW,Suite 800
 Washington, D.C. 20006

 If you or your attorney do not take these steps, the Court may decide that you do not oppose the
 relief sought in the motion and may enter an order approving the motion. The Court may approve
 the motion without a hearing ifthe objection filed states inadequate grounds for denial ofthe relief
 sought in the motion. Parties in interest with questions may contact the undersigned.

         WHEREFORE, the Trustee respectfully requests that this Court enter an Order: (a)

 granting the relief requested herein; (b) establishing November 1, 2019 as the deadline to file

 requests for allowance of Chapter 11 DIP Administrative Claims; (c) approving the form and

 manner ofthe Chapter 11 DIP Administrative Claim Bar Date Notice; and (d)granting such other

 and further relief as is just and proper.


 Dated: August 15, 2019                        Respectfully submitted,

                                              /s/ Joshua W. Cox
                                              Joshua W. Cox, No. 1033283
                                              STINSON LLP
                                               1775 Pennsylvania Ave., N.W., Suite 800
                                              Washington, DC 20006
                                              Tel.(202) 785-9100; Fax (202)572-9943
                                              joshua.cox@stinson.com
                                              Attorneysfor Marc E. Albert, Trustee




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                                   CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing Trustee's Motion for Entry of Order Establishing
 Chapter 11 Administrative Claim Bar Date for the Debtor-In-Possession Period and Approving
 Form and Manner of Notice Thereof was filed electronically via the Court's ECF system and
 served on August 15, 2019, by first class mail, postage prepaid, upon the following:

 Joseph A. Guzinski,                                Benjamin P. Smith, Esq.
 Assistant United States Trustee                    Shulman, Rogers, Gandal, Pordy & Ecker,
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 Alexandria, VA 22314                               12505 Park Potomac Ave., Sixth Floor
                                                    Potomac, MD 20854
 Thomas K. Stephenson
 711 49th Street, NE                                Karen A. Bower
 Apt #1A                                            Law Office of Karen Bower
 Washington, DC 20019-4815                          1629 K Street, NW Suite 300
                                                    Washington, DC 20006
 Charles M. Maynard
 401 East Jefferson Street                          Daniel Eisenhauer, Esquire
 Suite 208                                          Stern & Eisenberg Mid-Atlantic, PC
 Rockville, MD 20850                                9920 Franklin Square Drive, Suite 100
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 Nancy L. Alper
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                                                    Washington, DC 20005
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 Ballard Spahr, LLP                                 Mario Lloyde
 1909 K Street, NW                                  Vision Realty Management LLC
 12th Floor                                         6325 Woodside Court, Suite 230
 Washington, DC 20006                               Columbia, MD 21046

 Jessica Hepburn Sadler, Esq.                       Carol S. Blumenthal, Esq.
 Ballard Spahr, LLP                                 Blumenthal & Cordone, PLLC
 1909 K Street, NW                                  7325 Georgia Ave., NW
 12th Floor                                         Washington DC 20012
 Washington, DC 20006

                                                    /s/ Joshua W. Cox
                                                    Joshua W. Cox




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